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BY DEPUTY

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UNITED STATES OF AMERICA,
Plaintiff,

ERIC CHRISTENSEN,
Defendant.

 

 

CASENo. lVYj]Q- S`lg i

coMPLAINT
21 U.s.c. § 841(3)(1) & 841(b)(1)(B)

BEFORE the Honorable Karen L. Stromborn, United States Magistrate Judge, Tacoma,

Washington.

COUNT 1

Possession of Methamphetamine with Intent to Distribute

On or about April 12, 2018, in Pierce County, Within the Western District of
Washington and elsewhere, ERIC CHRISTENSEN, knowingly possessed With intent to

distribute methamphetamine, a controlled substance under Title 21, United States Code,

Section 812.

lt is further alleged that this offense involved 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, its salts, isomers, or salts

of its isomers.

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All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B) and Title 18, United States Code, Section 2.

COUNT 2
Possession of Heroin with Intent to Distribute

On or about April 12, 2018, in Pierce County, within the Western District of
Washington and elsewhere, ERIC CHRISTENSEN, knowingly possessed With intent to
distribute heroin, a controlled substance under Title 21, United States Code, Section 812.

The United States alleges that the offense involved 100 hundred grams or more of
a mixture or substance containing a detectable amount of heroin.

All in violation of All in violation of Title 21, United States_ Code 841(a)(1) and
841(b)(1)(B) and Title 18, United States Code, Section 2.

The undersigned, Errin Jewell, complainant being duly sworn states:

l. 1 am an “investigative or law enforcement ofticer” of the United States
Within the meaning of Title 18, United States Code, Section 2510 (_7), in that I am an
officer of the United States empowered by law to conduct criminal investigations and
make arrests for offenses enumerated in Title 18, United States Code, Section 2516.

2. I am employed as a Special Agent with the DEA, and have been so
employed since July 1999 and am currently assigned to the Seattle Field Division,
Tacoma Resident Ofiice. As a Special Agent, I am responsible forthe enforcement of the
Controlled Substance Act (Title 21, United States Code, Section 801, et seq.). During my
career, I have completed DEA Basic Agent Training and other various courses, Which
have familiarized me With investigations of drug trafficking organizations, methods of
importation and distribution of controlled substances, and financial investigations In
addition, I have participated in over three hundred criminal investigations, and
approximately five hundred search warrants, involving organizations trafficking in

controlled substances and, as a result, have an understanding of the manner in which

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narcotics are distributed and the various roles played by individuals and groups in their
distribution 1 have additionally participated in numerous complex investigations to
include Title III investigations involving organized crime and large-scale drug
trafficking organizations

3. As a result of my experience in serving these search warrants, I have
encountered and have become familiar with various tools, methods, trends, paraphernalia
and related articles utilized by various traffickers in their efforts to import, conceal and
distribute controlled substances I am also familiar with the manner in which drug
traffickers use telephones, often cellular telephones, to conduct their unlawful operations,
and how they code their conversations to disguise their unlawful activities

4. I make this affidavit in support of a complaint to obtain an arrest warrant
for ERIC CHRISTENSEN for the offenses of Possessz'on ofMethamphetamine with _
Intent to Dz`stribute in violation of Title 21, United States Code, Sections 841(a)(1),
84l(b)(l)(B) and Title 18, United States Code, Section 2 and for the offense of
Possessz`on of Heroin with Intent to Distribute in violation of Title 21, United States
Code, Sections 841(a)(1), 84l(b)(l)(B) and Title 18, United States Code, Section 2. As
set forth below, Defendant possessed approximately 215 grams of heroin and
approximately 352 grams of methamphetamine on or about April 12, 2018, in Pierce
County, Washington. There is also probable cause to believe that Defendant has
previously also distributed lesser amounts of methamphetamine to other individuals

5. This.investigation was conducted by the Puyallup Police Department. In
preparing this affidavit, I have Spoken with Puyallup Police Department detectives and
reviewed reports prepared by them regarding the charge listed herein. The facts set forth
in this affidavit arise from my communications with the detectives and my review of
relevant documents and reports I have obtained and read reports prepared by various

law enforcement officers participating in this investigation, including but not limited to

‘ Detective Greg Massey and officers from the Puyallup Police Department. When I refer

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to the criminal history of a subj ect, I have read the available criminal history from state or

federal agencies

6. As this affidavit is being submitted for the limited purpose of establishing
probable cause for the arrest of ERIC CHRISTENSEN, I have not included every fact
known to me concerning this investigation l have set forth only the facts that I believe
are sufficient for a fair determination of probable cause for the requested arrest warrant. 1
do not purport to summarize all of the evidence gathered during the course of this
investigation nor does it include all facts known to myself or other agents/detectives
involved with this investigation My reference to information from “law enforcement”
means that an agent or officer has supplied the information to me, orally or in writing.

7. The Puyallup Police Department established a confidential source (CS) in
April 2018, who immediately began cooperating with law enforcement for the purpose of
gaining prosecutorial considerations stemming from a drug-related arrest. The CS agreed
to cooperate with law enforcement by providing information about an individual selling
controlled substances in Western Washington. The CS admitted to law enforcement to
having a past history of controlled substance use and trafficking, which has giventhe CS
an understanding of the controlled substance market in Puyallup, Washington, Within
Pierce County, The CS has Two prior felonies (theft and robbery) and eleven prior
misdemeanors (to include domestic violence, identity theft and robbery). The CS agreed
to cooperate with detectives from the Puyallup Police Department for prosecutorial
considerations

8. On or about April 12, 2018, the CS told investigators about a male known
only to the CS as “ACE”. The CS told investigators that he/she could purchase ounce
quantities of methamphetamine from “ACE”. The CS agreed to call “ACE” and arrange
for the controlled purchase of approximately one ounce of methamphetamine from
“ACE” using Puyallup Police funds Later that same date, under the supervision of
Puyallup Police detectives the CS contacted “ACE” via cellular phone and arranged to

purchase approximately one ounce of heroin from “ACE” for approximately $600.

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During the conversation “ACE” and the CS agreed to meet at the Burger King
Restaurant parking lot, located at 807 River Road, Puyallup, Pierce County, Washington.

9. Later that same night, Puyallup Police Detectives observed a tan colored
Honda arrive in the Burger King parking lot. The CS identified the vehicle as being
associated with “ACE”. At the direction of detectives, the CS approached the vehicle on
foot after he/she had been searched for contraband with negative results and had been
provided with approximately $600 in pre-recorded Puyallup Police Department funds

10. Upon approaching the vehicle, the CS sat in the rear passengers seat. After
a few minutes the CS emerged and immediately met with detectives Upon meeting with
the detectives the CS handed over approximately one ounce of suspected heroin that later
field-tested positive for the presence of heroin The CS was then searched again for
contraband with negative results

11. Meanwhile, following the CS’s departure from the vehicle, the tan colored
Honda departed from the parking lot and began to travel westbound on River Road
towards Tacoma. Uponconfirming that the controlled purchase had occurred, Puyallup
Police patrol units pulled in behind tan Honda and conducted a traffic stop on the vehicle.
Upon stopping the vehicle officer identified the driver as Kristopher Morris. The
passenger was identified as ERIC CHRISTENSEN Both occupants were advised of the
Miranda Warnings, which they waived.

12. ERIC CHRISTENSEN admitted to officers that he had just delivered
heroin to an individual at the Burger King. ERIC CHRISTENSEN further told officers
that there were hundreds of grams of heroin and methamphetamine behind the passenger
seat of the Honda where he was sitting. ERIC CHRISTENSEN further told officers that
he had an outstanding federal arrest warrant stemming from a previous drug arrest.

13. Morris initially told officers that he was just accompanying ERIC
CHRISTENSEN to collect a payment, but later admitted that he was driving ERIC
CHRISTENSEN to make a drug delivery and that ERIC CHRISTENSEN had a large

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amount of heroin and methamphetamine behind the passenger seat. Morris further told y
officers that he had a small amount of drugs under his driver’s seat.
14. Both Morris and ERIC CHRISTENSEN were subsequently arrested and
charged in Pierce County, Washington for state narcotics law violations
15. Following their arrest, Puyallup Police Detective Greg Massey applied for
and was granted a Pierce County Superior Court search warrant for the tan colored
Honda. The subsequent search of the vehicle resulted in the seizure of approximately
215 grams of heroin and approximately 352 grams of methamphetamine that was located
behind the passenger seat. Detectives also located drug packaging material and a digital
scale. Under the front passenger seat detectives located smaller amounts of heroin,
methamphetamine and cocaine, along with assorted drug paraphernalia These items of
evidence were seized by the Puyallup Police Department. ` m
16. A review of ERIC CHRISTENSEN’s criminal history by detectives
revealed that he had an outstanding arrest warrant stemming from federal probation
violations that arose from prior convictions for the manufacturing of methamphetamine
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17. Based upon the facts set forth in this affidavit, I believe that there is
probable cause to charge ERIC CHRISTENSEN with Possession of Methamphetamine
with lntent to Distribute in violation of Title 21, United States Code, Sections 841(a)(1),
84l(b)(l)(B) and Title 18, United States Code, Section 2 and for the offense of

Possession of Heroin with Intent to Distribute in violation of Title 21, United States
Code, Sections 841(a)(1), 841(b)(1)(B) and Title 18, United States Code, Section 2.

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Errin'P. Jewqil,/Eomplainant
Special Agent, DEA

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the defendant

committed the offenses set forth in the Complaint.

Dared the <>?~5”1 day ofnuy, 2018.

A%W

MAGISTRATE` JUDGE KAREN L. STR()MBOM
United States Magistrate Judge

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